                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION

UNITED STATES OF AMERICA                                                   PLAINTIFF

VS.           Case Nos. 4:19-cr-00219-3-BRW and 4:21-CR-00215-01-BRW

CHRISTOPHER DAVID HIGGINS                                                  DEFENDANT


                                           ORDER

        Defendant seeks temporary release from custody for the purpose of attending a medical

appointment. (Case No. 4:19-cr-00219-3-BRW, Doc. No. 140; Case No. 4:21-cr-00215-1-BRW,

Doc. No. 61.) Pursuant to 18 U.S.C. § 3142(i), I find the appointment qualifies as a compelling

reason for temporary release. Accordingly, Defendant’s Motion is GRANTED.

       IT IS, THEREFORE, ORDERED that:

       1.     Defendant be temporarily released from custody on Thursday, December 15,

              2022, no earlier than 8:00 a.m., for the sole purpose of attending a 11:00 a.m.

              appointment at the UAMS Outpatient Surgical Clinic in Little Rock, Arkansas.

       2.     Defendant’s family is to provide Defendant with transportation to and from the

              appointment.

       3.     Defendant is to return to his current place of custody no later than 4:00 p.m. sharp

              on Thursday, December 15, 2022.


       IT IS SO ORDERED this 12th day of December, 2022.

                                                  BILLY ROY WILSON
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                                            UNITED STATES DISTRICT JUDGE




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